      Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 1 of 63 PageID #: 425

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        3                                    UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF TEXAS
                                                  BEAUMONT DIVISION



                     Peter Harris and Loni Harris,


                                      Plaintiffs,                  Case No. 1:24-cv-00313


                              v.


                     Upwintrade.com, a business                    Declaration of
                     association; David Shamlian, an               Delaina Snyder
                     individual; John Does 1 – 20,


                                      Defendants.



                             I, Delaina Snyder, state and swear as follows.

                             I.      Introduction

                             1.      My name is Delaina Snyder. I am of sound mind and capable of

                   making this Affidavit. I have personal knowledge of the facts stated herein.

                             2.      I learned of this case through search-engine results online and

                   subsequently contacted the lawyer for Peter and Loni Harris. I am submitting

                   this Declaration to provide evidence of my own experience with the same

                   scammers who victimized the Harrises.

                             II.     Chronology & Evidence

                             3.      My first contact with the Upwintrade scam was through

                   Facebook. An account that appeared to be operated by Kerrie Zimmerman,


                                                             -1-
      Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 2 of 63 PageID #: 426

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                   someone I know personally, made a Facebook post about a new boutique

                   clothing store she was opening. This post implied that Kerrie had earned the

                   money to open the boutique by “trading cryptocurrency with Tony

                   Hattennsty.”

                             4.      I sent a direct message to this account inquiring about this

                   cryptocurrency-trading success. This person directed me to message Tony

                   Hattennsty on Skype and provided me his Skype information. I later

                   confirmed with the real Kerrie Zimmerman that her Facebook account had

                   been hacked and taken over by unknown persons prior to the date of the post

                   and messages described above. True and correct copies of the initial Facebook

                   post and direct messages described above are attached to this Declaration as

                   Attachment A.

                             5.      My husband and I soon messaged Tony Hattennsty on Skype.

                   Hattennsty advised us to make an account on www.upwintrade.com. He

                   walked us through the process of funding our own account Crypto.com

                   account using U.S. Dollars, then using those dollars to purchase

                   cryptocurrency, and then transferring that cryptocurrency to a deposit

                   address provided by Upwintrade. A true and correct copy of our Skype

                   conversation with Hattennsty is attached hereto as Attachment B.

                             6.      In the period from April 26 to June 16, 2024, my husband and I

                   transferred Bitcoin with a U.S.-dollar denominated value of $147,289.01 to




                                                             -2-
      Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 3 of 63 PageID #: 427

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                   Upwintrade. A true and correct copy of our transaction-history export from

                   Crypto.com is attached to this Declaration as Attachment C.

                             7.      Over time, our “trading account” at upwintrade.com showed that

                   we had made a significant profit on our “investment,” with our balance

                   reaching $2,814,379.00 by August 2024. True and correct copies of

                   screenshots of the Upwintrade platform showing this purported account

                   balance, our transaction history, and the Upwintrade deposit address are

                   attached as Attachment D.

                             8.      While my husband and I continued to believe that we were

                   making significant profits through Upwintrade, we directed a friend of ours

                   named Scott Dannatt to Hattennsty, who directed Scott to Upwintrade. Scott

                   transferred cryptocurrency with a dollar-denominated value of approximately

                   $50,000.00 to Upwintrade’s deposit addresses in a series of transactions in

                   July and August 2024.

                             9.      My husband and I eventually told Hattennsty that we would be

                   withdrawing from the Upwintrade platform on August 10, 2024. At that time,

                   Hattennsty told us that we would be required to pay a 10% commission

                   directly to him before the withdrawal could be processed. Contrary to what

                   he had previously promised, he said that this commission could not be paid

                   with the assets already in our Upwintrade account. Instead, we would have

                   to transfer additional assets beyond that which we had already sent to




                                                             -3-
      Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 4 of 63 PageID #: 428

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                   Upwintrade. This commission would have amounted more than $250,000.00

                   worth of cryptocurrency. We could not afford to make this payment.

                             10.     Through additional online research, we learned about this case

                   and pig-butchering scams. We understood immediately that we had been the

                   victims of a pig-butchering scam. We have voluntarily provided the attached

                   evidence to the Harrises’ counsel and the FBI. We understand that an FBI

                   investigation is ongoing and that several cryptocurrency-exchange accounts

                   have been frozen.

                             11.     My husband, Mr. Dannatt, and I understand that we are not

                   plaintiffs in this case, and that we are not represented by the Harrises’

                   counsel. I am providing this Declaration because we want to support any

                   effort to freeze stolen assets held by the Upwintrade scammers, in hopes that

                   a large enough pool of assets might be frozen to allow for recovery by all of

                   Upwintrade’s victims.

                                              [SIGNATURE PAGE FOLLOWS]




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      Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 5 of 63 PageID #: 429

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                                                         VERIFICATION

                             I, Delaina Snyder, hereby verify and declare under penalty of

                   perjury that the foregoing is true and correct.




                                                                   __________________________
                                                                   Delaina Snyder


                                                                   Dated:   8/30/2024




                                                             -5-
      Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 6 of 63 PageID #: 430

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                  Kerrie Hayden Zimmerman s • ce!ebrafng success,                Attachment A
        -◄" 1,,._,_•10·,t,,r ',' /Ii,_:- _: ,:.:_
       , ,,,.


       rve been sitting on a SECRET! I)
       My journey trading cryptocurrency with Tony Hattennsty has been the most fulfilling and exciting
       venture I have ever invotved my.sett in so far. Friends and family, we·re thnlled to announce to you all the
       birth of Kerrie·s Boutique. The website will be LIVE soon; for now, we are in Louisville and will officially be
       open by February.
       Here's to more accomplishments and continued success �� JI> • !! Merry Christmas and Happy nl:\v year
       in advance       '9



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      Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 7 of 63 PageID #: 431

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                                                                           HAR0251
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                                                                           HAR0252
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                                                                          HAR0253
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                                                                          HAR0256
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                                                             Attachment B




                                                   Tony Hatt...
                                                      Last seen 2d ago


     0 Send message
     � Start call


     Ol Start video call

     @ Start private conversation

     Ei Schedule a call



                                                                            HAR0257
     Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 15 of 63 PageID #: 439

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Copilot in Chat



 PROFILE


 §1 Skype Name                                                     I ive:.cid.d26667425f60ea05


Add to favorites




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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 16 of 63 PageID #: 440




                                                                                                                                                                                                                                                       HAR0259
                                                                                                Tony Hatt...©
                                                                                               J Last seen 2d ago
                                                                                                                                                                                                                    a_      �     2o       ee
                                                                                                                                                                Friday, March 29, 2024
                                                                                                                                                                                                                                        12:16 AM
                                                                                                                                rTonx, I received your Sl<y�e�contart inf�from------a-frtend, Kerrie· Ztmmerman. 6he's had such great
                                                                                                                               success trading crypto and mentioned that she worked with you. My husband, Chad, and I would like to
                                                                                                                               find out more and how we can get started. Would you be willing to set up a call or send more info our
                                                                                                                               way? T hank you!
                                                                                                 Tony, 12:05 PM
                                                                                                    Hello Delaina, do you know what crypto trading is or do you want me to break it down by explaining it to
                                                                                                                                                                                                                           ©
                                                                                                    you before we begin?
                                                                                                                                                               Saturday, March 30, 2024
                                                                                                 Tony, 5:52 AM
                                                                                                    Will you be available for a zoom call today, I don't know the part of the world you chatting from
                                                                                                                                                                                                                   ©
                                                                                                                                                                                                                                         1:56 PM
                                                                                                                               Hi Tony, I would like you to explain .. we do not know much at all. We are in Iowa, USA. Central time zone.
                                                                                                                               We are available later today around 6pm Central or how about Monday?
                                                                                                                                                                                                                                                   V
                                                                                                                                                                           We can do an earlier time on Monday, not sure where you are?
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 17 of 63 PageID #: 441




                                                                                                                                                                                                                                                                                           HAR0260
                                                                                               Tony Hatt...©
                                                                                               • Last seen 2d ago
                                                                                                                                                                                                                                                      Q         �         c?o       ••
                                                                                                                           • ••• · ·- -··-· · · -·- -·-···-·-· ••• - ·.1,-·- · - - ··· -- --· · -----· · ·-·· · ·-···-- -·-·-··--- -- --- ··- -- ,-·•--· · ·-··· --·· -·,- ------·--·-
                                                                                                                           account.. Was that right? Did I have to click on the green Deposit button in upwintrade?
                                                                                                                                                         or will it move and be deposited automatically now that we initiated it in crypto.com?
                                                                                                Tony, 11:18 AM
                                                                                                                                        ©
                                                                                                   It will be in account soon
                                                                                                Tony, 11 :38 AM
                                                                                                   Still nothing yet ?
                                                                                                                               ©
                                                                                                                                                                                                                                                                               11:38 AM
                                                                                                                                                                                                          It's there! I was just working away and hadn't noticed
                                                                                                 Tony, 11:39 AM
                                                                                                   Okay. What is your account username, so I can link to software to start trades immediately
                                                                                                                                                                                                                                         ©
                                                                                                                                                                                                                                                                                11:39 AM
                                                                                                                                                                                                                                                                       CDRSnyd33
                                                                                                Tony, 11 :40 AM
                                                                                                   Connected and I'll start trading now
                                                                                                
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 18 of 63 PageID #: 442




                                                                                                                                                                                                                              HAR0261
                                                                                               Tony Hatt...®
                                                                                               • Last seen 2d ago
                                                                                                                               do this.


                                                                                                                                                                                                         Q   IQ))   2o   ••
                                                                                      •
                                                                                                                                                             Sunday, April 7, 2024
                                                                                                 Tony, 6:00 AM
                                                                                                                                     ©
                                                                                                    Okay, keep me posted
                                                                                                                                                             Monday, April 8, 2024
                                                                                                 Tony, 10:38 AM
                                                                                                    Bitcoin already over ?OK, It was $65K when we last spoke. You are missing out the amazing wins
                                                                                                                                                                                                     ©
                                                                                                                                                             Tuesday, April 9, 2024
                                                                                                 Tony, 7:08 PM
                                                                                                                                             ©
                                                                                                    Hey Delaina, How's it going ?
                                                                                                                                                           Wednesday, April 10, 2024
                                                                                                                                          � Missed call
                                                                                                                                                 I
                                                                                                                                            Tony 9:37 AM
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 19 of 63 PageID #: 443




                                                                                                                                                                                                                                                       HAR0262
                                                                                               Tony Hatt...©
                                                                                                  Last seen 2d ago
                                                                                                                                                                                                                               Q   �   c?o ••
                                                                                                                                          '-          I
                                                                                                                                                Tony 9:37 AM                                                              '-
                                                                                                                                                                                                                                         3:11 PM
                                                                                                                               Hi Tony, We are coming up short on having enough for one BTC. We thought we were going to be able to
                                                                                                                               get the additional amount that we need from family, but unfortunately we just can't right now. We really
                                                                                                                               wanted to do this, and know we are missing out! Unless you would consider letting us start with less
                                                                                                                               ($25,000 or so) then I we'll have to pass right now. ;.:.
                                                                                                 Tony, 7:54 PM
                                                                                                    T here's a threshold on the $25,000 account, that limits unlimited trades daily, we'll be only able to place
                                                                                                                                                                                                                                   ©
                                                                                                    limited trades. If you do not mind that
                                                                                                                                                                          Thursday, April 11, 2024
                                                                                                 Tony, 12:10 PM
                                                                                                    Are you there ?
                                                                                                                          ©
                                                                                                                                                                                                                                        12:11 PM
                                                                                                                                                                                                                                       Hi Tony
                                                                                                                               I spoke to my husband Chad. We will probably just wait, instead of going with a limited trade account               V
                                                                                                                               �A::n,ho in ::, mAnth Ar tu,,.... if""' 1 ctill h::>HO cl,....tc Anon f,...., tho HO::>r
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 20 of 63 PageID #: 444




                                                                                                                                                                                                                                                       HAR0263
                                                                                             Tony Hatt...©                                                                                                          Q
                                                                                            • Last seen 2d ago
                                                                                                                                                                                                                           �      �o       ••
                                                                                                                          I spoke to my husband Chad. We will probably just wait, instead of going with a limited trade account.
                                                                                                                          Maybe in a month or two, if you still have slots open for the year.
                                                                                              Tony, 12:14 PM
                                                                                                                 Q
                                                                                                 Okay
                                                                                                                                                              Sunday, April 21, 2024
                                                                                                                                                                                                                                         6:08 PM
                                                                                                                                         Hi Tony, We are going to have 1 BTC this week. What info do you need from us to get started?
                                                                                                                                                              Monday, April 22, 2024
                                                                                                                                                                                                                                       11:23 AM
                                                                                                                          Hi Tony, We are getting really creative to get the money together as fast as we can. We know we are
                                                                                                                          missing out on profits by delaying our involvement with you! If our purchase and transfer gets completed
                                                                                                                          today, we will have the 1 BTC in our crypto.com account later today. Will you still be able to take us on as
                                                                                                                          a client if we are able to have it in our account today? Hopefully .:..:,   If not, please let us know right
                                                                                                                          away. T hank you!!!
                                                                                                                                    --             - ···-..
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 21 of 63 PageID #: 445




                                                                                                                                                                                                            HAR0264
                                                                                              Tony Hatt...©
                                                                                                 Last seen 2d ago
                                                                                               Tony, 11:40 AM



                                                                                                                                                                             a_    �
                                                                                                                                                                                        0
                                                                                                                                                                                        co
                                                                                                                                                                                                ••
                                                                                                                                               Q
                                                                                                  Connected and I'll start trading now
                                                                                                                                                                                             11:40 AM
                                                                                                                                                                            AWESOME!!! Thank you!
                                                                                               Tony, 11 :45 AM
                                                                                                   •
                                                                                                                                          Q
                                                                                                  You're welcome. Let's win
                                                                                                Tony, 7:58 PM
                                                                                                                                Q
                                                                                                  Already winning
                                                                                                                                                                                              8:17 PM
                                                                                                                                                   Wednesday, May 1, 2024
                                                                                                                                                                                                        V
                                                                                     � Tonv. ?:4.'.l PM
                                                                                                 
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 22 of 63 PageID #: 446




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                                                                                                                                                                                                                                      --
                                                                                                                                                                                                                                              LJ   A
                                                                                               Tony Hatt...      ®                                                                                               Q      �
                                                                                                                                                                                                                               0
                                                                                                                                                                                                                               co
                                                                                                 Last seen 2d ago
                                                                                                 Tony, 2:43 PM
                                                                                                                                                                                                                        Q
                                                                                                   The market is-at it's best rignf now, i advice you take advantageoflhe market because oflhe tnreshola,
                                                                                                   g1vi-ng you flie:,QP.i:20Ftunityto leverage more. With-$-Z00K you can make more ttian Sr:-srvrbefore tn
                                                                                                   of tbe_month
                                                                                                                                                                                                                                    4:11 PM
                                                                                                                               OK. Is there a way that we can leverage (or borrow against our money in our account) to come up with
                                                                                                                           the additional amount that is needed?
                                                                                                 Tony, 5:17 PM
                                                                                                                                                             Q
                                                                                                   You need to fund account to upgrade account
                                                                                                                                                                                                                                    5:22 PM
                                                                                                                                             Ok, sorr would be the same process as before .. we should transfer in that amount of a BTC?
                                                                                                 Tony, 5:22 PM
                                                                                                                               Q
                                                                                                   Yes that's correct
                                                                                                                                                                                                                                                   V
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 23 of 63 PageID #: 447




                                                                                                                                                                                                                                               HAR0266
                                                                                               Tony Hatt...©                                                                                                    Q      �     �o        ••
                                                                                               • Last seen 2d ago
                                                                                                   When do you intend to fund account ?
                                                                                                                                                 ©
                                                                                                   You there ?
                                                                                                                     ©
                                                                                                                                                                                                                                     5:50 PM
                                                                                                                           Right now, there is no fast way to get it in there. Our money is tied up elsewhere. Its a long and slow
                                                                                                                           process unfortunately.. We are looking for ways.. I am not sure we can get it for another week.? Continue
                                                                                                                           trading with the amount we have in our account as you see best, and we'll work on finding a way
                                                                                                                           How much do you think you can make with the 157,000 we have in there now? It still should be pretty
                                                                                                                           good, right?
                                                                                                                                                                                                                                     6:49 PM
                                                                                                                           Ok, so if I understand correctly... Do we need to add another $200,000 or just top off our account with
                                                                                                                           the additional amount that puts our current balance above 200,000 (example: we are at 156,000, so we
                                                                                                                           need to add another approximately 46,000) ?
                                                                                     •
                                                                                                                                                            Thursday, May 2, 2024
                                                                                                Tony, 1:10AM
                                                                                                                                                                                                                      ©
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 24 of 63 PageID #: 448




                                                                                                                                                                                                                                            HAR0267
                                                                                              Tony Hatt...®                                                                                                    Q
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                                      �      �o       ••
                                                                                                Tony, 1:10 AM
                                                                                                                                                                                                                      ©
                                                                                                  I meant to add funds to your invested account to make it $200K. i'm only able to place trades with btc in
                                                                                                  account, which is the funds you sent earlier. Unable to trade with account balance because it's in USD
                                                                                                                                                                                                                                  1:13 AM
                                                                                                                          Ok, we invested about $65,000 (1 BTC at the time), so now we would need to add $135,000 worth of BTC
                                                                                                                          to = $200,000 of invested. Right?
                                                                                                Tony, 1:13 AM
                                                                                                  Right
                                                                                                                 ©
                                                                                                                                                                                                                                  1:16 AM
                                                                                                                                                                                                                                   ,,
                                                                                                                                                                               We are not going to be able to do that amount. ..:..:.
                                                                                                Tony, 3:05 AM
                                                                                                                                                                                ©
                                                                                                  Okay maybe make your investment up to 2btc, the diamond account
                                                                                                                                                                                                                                  9:04 AM
                                                                                                                          Ok, so if we can buy another BTC at whatever the price is, that gets us there (today its at approximately
                                                                                                                          $58,000)?
                                                                                       C        Tony, 9:06 AM
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 25 of 63 PageID #: 449




                                                                                                                                                                                                                                           HAR0268
                                                                                              Tony Hatt...©
                                                                                                 Last seen 2d ago
                                                                                                                                                                                                               Q      �     c?o ••
                                                                                                                           again!
                                                                                                Tony, 10:38 AM
                                                                                                                                  ©
                                                                                                  Okay, keep me posted
                                                                                                                                                                                                                                 1:44 PM
                                                                                                                                       Hi Tony, another $12,589 USO (.1897242 BTC) has been sent to our Upwin Trade account wallet
                                                                                                                                                           Thursday, May 16, 2024
                                                                                                                                                                                                                                12:29 AM
                                                                                                                           Our transfer hasn't made it into the account yet. This one has taken the longest.. Over 10 hours now since
                                                                                                                           we completed the transfer in crypto.com It must be really slow today
                                                                                                Tony, 2:17 AM
                                                                                                  Are you sure? looks like funds in account already
                                                                                                                                                           ©
                                                                                                                                                                                                                                 9:47 AM
                                                                                                                                                           Yep the additional funds are there. Thanks! .. and winning again, all good!
                                                                                                                                                            C"' ....... ..J ...... � ....... -tn   '"lf'\"lA
                                                                                                
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 26 of 63 PageID #: 450




                                                                                                                                                                                                                                                            HAR0269
                                                                                               Tony Hatt...©
                                                                                                  Last seen 2d ago
                                                                                                                                                                                                                            a. � 2o ••
                                                                                                                                                          Tt:fJ LI It: dUUILIUI lal IUI lU� dft: Ult:rt:. Ir larlK�! .. al IU WHHllf 1y dYdH1, dll yuuu!
                                                                                                                                                          Sunday, May 19, 2024
                                                                                                 Tony, 1:59 AM
                                                                                                                                            Q
                                                                                                   Hello Delaina, how's it going ?
                                                                                                                                                                                                                                                 2:39 AM
                                                                                                                                                          Hi Tony, things are good. Thank you, we are so impressed with the wins.
                                                                                                                                                      Wednesday, May 22, 2024
                                                                                                                                                                                                                                                  6:57 PM
                                                                                                                                                                                     Hi Tony, is it just us or is the Upwin Trade site down?
                                                                                                                                                                                                                                                10:00 PM
                                                                                                                                                                                                                             It's back up now �
                                                                                                                                                      Wednesday, May 29, 2024
                                                                                                 Tony, 11:15 AM
                                                                                                                                                      Q
                                                                                                   Hello Delaina, when are you available for a call
                                                                                                                                                                                                                                                12:12 PM
                                                                                                    r--...   -                                                                                                        n..        n
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 27 of 63 PageID #: 451




                                                                                                                                                                                                                        HAR0270
                                                                                               Tony Hatt...©                                                                           Q     �      �o      ••
                                                                                               • Last seen 2d ago
                                                                                                                                                                                                         12:12PM
                                                                                                                                                         hi Tony, most times today are good or later tonight.
                                                                                                 Tony, 12:31PM
                                                                                                                                         Q
                                                                                                    Let me know when exactly
                                                                                                                                                                                                         12:32 PM
                                                                                                                                                                                                 now is good
                                                                                                                                      � Call ended
                                                                                                                                        12:33 PM I 42s                       �
                                                                                                 Tony, 12:34PM
                                                                                                                                               Q
                                                                                                    Looks like the connection is slow
                                                                                                                                     Q
                                                                                                    we should try in an hour
                                                                                                                          Q
                                                                                                    Is that perfect ?
                                                                                                                                                                                                         12:34PM    V
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 28 of 63 PageID #: 452




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                                                                                                                                                                                                                    HAR0271
                                                                                              Tony Hatt...©
                                                                                              • Last seen 2d ago
                                                                                                                                                                              Q     IQ)J   c0o
                                                                                                                                                                                                 12:34 PM
                                                                                                                                                       How about 90 min (I have a work call in 1 hr)
                                                                                                Tony, 12:35 PM
                                                                                                   Okay perfect
                                                                                                                       ©
                                                                                                                                                                                                 12:35 PM
                                                                                                                                                                                                  ok
                                                                                                                                    \.7' No answer
                                                                                                                                                                    �
                                                                                                                                                                                                                •
                                                                                                                                           2:02 PM
                                                                                                                                                                                                 2:03 PM
                                                                                                                                                                Hi Tony, call when you are available
                                                                                                                                    \.7'   No answer
                                                                                                                                           3:36 PM                  �
                                                                                                                                                                                                            V
                                                                                                  
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 29 of 63 PageID #: 453




                                                                                                                                                                                                                                                HAR0272
                                                                                              Tony Hatt...©                                                                                                    Q
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                                      �     �o      ••
                                                                                                IVI 1Jt _,,_,.,- I !YI
                                                                                                                         ©
                                                                                                  Okay
                                                                                               Tony, 4:07 PM
                                                                                                   Lmk when he adds me
                                                                                                                                     ©
                                                                                                                                     �
                                                                                                                                                                                                                                  4:54 PM
                                                                                                                                                                                                                                  Okay
                                                                                                                                                          Saturday, June 29, 2024
                                                                                               Tony, 10:30 AM
                                                                                                                                                                                                         Q
                                                                                                   Hello Delaina, how's it going ? I only have a few spots left. Is your friend still coming on board
                                                                                                                                                                                                                                 11:54 AM
                                                                                                                                                                         Hi Tony, Yes I believe so. I let him know to contact you asap.
                                                                                                                                                           Monday, July 1, 2024
                                                                                               Tony, 6:41 AM
                                                                                                                                                                                                                     Q
                                                                                                   Hello Delaina, How are you doing? according to the algorithms, there's a 60X trade happening on
                                                                                                  Wednesday, that's the biggest trade this year. With $SOK Invested on that trade, the win is $3M. I advice                                 V
                                                                                                  you take advantaqe of it. All my clients are on it. Don't miss out. 1 OOK qives you $6M. Grab with both
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 30 of 63 PageID #: 454




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                                                                                                                                                                                                                                           HAR0273
                                                                                              Tony Hatt...©                                                                                                             0
                                                                                                                                                                                                            Q_   IQ))   co
                                                                                              • Last seen 2d ago
                                                                                                Tony, 6:41 AM
                                                                                                                                                                                                                 Q
                                                                                                   Hello Delaina, How are you doing? according to the algorithms, there's a 60X trade happening on
                                                                                                  Wednesday, that's the biggest trade this year. With $SOK Invested on that trade, the win is $3M. I advice
                                                                                                  you take advantage of it. All my clients are on it. Don't miss out. 1 OOK gives you $6M. Grab with both
                                                                                                  hands if you can
                                                                                                                                         Call ended
                                                                                                                                     �                                                           �
                                                                                                                                         12:42 PM
                                                                                                Tony, 4:22 PM
                                                                                                                          Q
                                                                                                  Are you there?
                                                                                                                                                        Tuesday, July 2, 2024
                                                                                                                                     � No answer                                                 �
                                                                                                                                         1:31 PM
                                                                                                                                                                                                                             1:32 PM   V
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 31 of 63 PageID #: 455




                                                                                                                                                                                                                                                   HAR0274
                                                                                             Tony Hatt...©                                                                                                       Q
                                                                                             • Last seen 2d ago
                                                                                                                                                                                                                        �     �o       ••
                                                                                                                                                                                                                                    1:32 PM
                                                                                                                          Hi Tony Sorry we missed you We got your message And if we had more we would definitely be putting it
                                                                                    •
                                                                                                                          in We just don't have it right now unfortunately
                                                                                               Tony, 2:02 PM
                                                                                                                               ©
                                                                                                 Okay no problem
                                                                                                                                                               Monday, July 15, 2024
                                                                                                                                                                                                                                    11:47 PM
                                                                                                                          Hi Tony,
                                                                                                                          Good morning! Hope you are doing well!
                                                                                                                          Our first 90-day cycle is coming to an end soon, so we wanted to confirm a few things with you ahead of
                                                                                                                          time:
                                                                                                                          •        As we discussed, 90 days is when we can withdraw/transfer out BTC, pay you 20%, take some of the
                                                                                                                          profits, and then reinvest/transfer in with you for a new cycle. We calculate the first cycle to end on July
                                                                                                                          25th. Is that also the date you have?
                                                                                                                          •        After we transfer out the BTC and pay you, we will immediately reinvest a large portion of our
                                                                                                                          earnings back into our Upwin Trade account for you to begin the next cycle of trading. Is it best to put
                                                                                                                          everything we want to reinvest into Upwin right away for the next cycle, or should we plan to hold some
                                                                                                                          back and then add to the Invested Amount over time? (During this cycle, you asked us a few times if we
                                                                                                                                                                                                                                               V
                                                                                                                          could come up with more along the way, so we didn't know if that was because our Invested Amount
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 32 of 63 PageID #: 456




                                                                                                                                                                                                                                            HAR0275
                                                                                              Tony Hatt...©
                                                                                                 Last seen 2d ago
                                                                                                                                                                                                                 a. � c?o ••
                                                                                                                                                                                          ...J   J   , J
                                                                                                                           could come up with more along the way, so we didn't know if that was because our Invested Amount
                                                                                                                           wasn't enough to work with, or if it's better to add more over time due to the market changes vs.
                                                                                                                           investing one big amount right away. Like I mentioned, for this next cycle, we will have a lot more BTC to
                                                                                                                           put in right away but can hold some back if there's a reason to add over time vs. a large amount all up
                                                                                                                           front.)
                                                                                                                           •     We may have discussed this before, but how do we pay you? Do we transfer from our Crypto.com
                                                                                                                           account to your wallet address, or do we transfer directly from our Upwin Trading account to your wallet?
                                                                                                                           •     How/When do you calculate your 20% (is the amount based on the# of BTC on the day we initiate
                                                                                                                           the transfer out?)
                                                                                                                           •     Security -- Is the best to transfer out to our own wallet address on Crypto.com, or is there a
                                                                                                                           better/more secure way to do it? (Is crypto.com a secure place, or should we use something like a cold
                                                                                                                           hardware wallet, or do you recommend another way?)
                                                                                                                           •     Taxes -- Do you know anyone (or do you know who your clients work with) that we can speak to
                                                                                                                           who understands how crypto is taxed in the USA? (we want to be sure we are paying as little tax as
                                                                                                                           possible!)
                                                                                                                           •     Do we gel taxed on BTC transfers to other accounts (example, if we transfer BTC from Chad's
                                                                                                                           account to our kids' own accounts)
                                                                                                                           Thank you! We also wanted to say that we are thankful we found you through my friend Kerrie. We enjoy
                                                                                                                           working with you and are very pleased with the gains in our account! We look forward to continuing to
                                                                                                                           work with you long term.
                                                                                                                                                                                                                                        V
                                                                                                                                                            Wednesday, July 17, 2024
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 33 of 63 PageID #: 457




                                                                                                                                                                                                                                                          HAR0276
                                                                                               Tony Hatt...©                                                                                                     Q
                                                                                                  Last seen 2d ago
                                                                                                                                                                                                                        �      �o         ••
                                                                                                                                       � No answer                                                     �
                                                                                                                                         8:32 AM
                                                                                                                                                                                                                                     8:32 AM
                                                                                                                                                                                                        Give us a call when you're back.
                                                                                                                                                                                                                                  11:52 AM
                                                                                                                                                   hi Tony, Are you available this afternoon, or when is a good time for you? T hank you.
                                                                                                 Tony, 1 :49 PM
                                                                                                                                   Q
                                                                                                   Are you available now
                                                                                                                                       Q
                                                                                                   Busy Monday with trades
                                                                                                 Tony, 2:48 PM
                                                                                                                          Q
                                                                                                   Are you there ?
                                                                                                                                                               Tuesday, April 2, 2024
                                                                                                 Tony, 7:48 AM
                                                                                                                                               Q
                                                                                                   When are you available for a call?
                                                                                                                                                                                                                                                      V
                                                                                                                                                                                                                                    ◄ ....... n "'"
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 34 of 63 PageID #: 458




                                                                                                                                                                                                                                               HAR0277
                                                                                              Tony Hatt...©                                                                                                   Q
                                                                                                 Last seen 2d ago
                                                                                                                                                                                                                     �     �o      ••
                                                                                                                                               Q
                                                                                                  When are you available for a call?
                                                                                                                                                                                                                              11:19 AM
                                                                                                                                                                                      Hi Tony, today anytime after 12pm CST is good.
                                                                                                Tony, 12:09 PM
                                                                                                                                                                        Q
                                                                                                  Okay cool I'll give you 30 minutes heads up before I call you
                                                                                                                                                                                                                                12:10 PM
                                                                                                                                                                                                                   Ok, sounds good!
                                                                                                                                                           Wednesday, April 3, 2024
                                                                                                                                                                                                                                12:29 PM
                                                                                                                           Hi Tony, We are available today and can work around your schedule.. We can take a call even late into the
                                                                                                                           evening, just let us know. Thank you.
                                                                                                                                                            Thursday, April 4, 2024
                                                                                                                                     � Missed call
                                                                                                                                       Tony 110:46 AM                                                �                                     V
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 35 of 63 PageID #: 459




                                                                                                                                                                                                                                                HAR0278
                                                                                               Tony Hatt...©
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                                Q      �      2o ••
                                                                                                                                      -   tony I 1U:4b AM
                                                                                                                                        Missed call
                                                                                                                                      � Tony I 10:48 AM                                               �
                                                                                                Tony, 4:50 PM
                                                                                                                        ©
                                                                                                   I tried calling
                                                                                                                                                                                                                                  4:53 PM
                                                                                                                            Hi Tony, Thank you. Sorry I missed you. I am available now, but I also want my husband to listen in (he is
                                                                                                                            traveling). Can I call you back when I can get him on the phone too?
                                                                                                Tony, 4:54 PM
                                                                                                                                  ©
                                                                                                   Okay, keep me posted
                                                                                                                                        No answer
                                                                                                                                      � 6:55 PM                                                       �
                                                                                                                                                                                                                                            V
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 36 of 63 PageID #: 460




                                                                                                                                                                                                   HAR0279
                                                                                              Tony Hatt...©                                                       Q      �      c?o ••
                                                                                                                                                          -
                                                                                              • Last seen 2d ago
                                                                                                                                      -   b:'.l'.l 1-'M
                                                                                                                                                                                     6:55 PM
                                                                                                                                                              Hi Tony, will try back again
                                                                                                Tony, 8:17 PM
                                                                                                  Are available now?
                                                                                                                               ©
                                                                                                                                     � Call ended
                                                                                                                                       8:19 PM I 43s      �
                                                                                                Tony, 8:19 PM
                                                                                                   I can hear you, can you hear me?
                                                                                                                                                 ©
                                                                                                                                                                                     8:19 PM
                                                                                                                                                          I cannot hear you .. calling back
                                                                                                                                     � Call ended
                                                                                                                                       8:20 PM I 34s      �                                    V
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 37 of 63 PageID #: 461




                                                                                                                                                                                                                          HAR0280
                                                                                              Tony Hatt...®                                                                                   Q   �           •
                                                                                                                                                                                         ..
                                                                                              • Last seen 2d ago                                                                                       �o             •
                                                                                                                                     •
                                                                                                                                                I
                                                                                                                                         8:20 PM 34s
                                                                                                Tony, 8:20 PM
                                                                                                                                                           Q
                                                                                                  Do you have it logged on your phone or computer ?
                                                                                                                                                                                                            8:20 PM
                                                                                                                                                                                                      computer ..
                                                                                                Tony, 8:20 PM
                                                                                                                               Q
                                                                                                  Check your settings
                                                                                                  I can hear you clearly, not sure why you can't hear me
                                                                                                                                                           ©
                                                                                                                                         Call ended
                                                                                                                                     �
                                                                                                                                                I
                                                                                                                                         8:40 PM 17m 17s                                 �
                                                                                                Tony, 8:40 PM
                                                                                                                                                                                     ©
                                                                                                  You can ask me any question, if you need more clarity on how to purchase bitcoin
                                                                                                                                                                                                            8:50 PM
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 38 of 63 PageID #: 462




                                                                                                                                                                                                                                             HAR0281
                                                                                               Tony Hatt...©
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                             Q
                                                                                                                                                                                                                    �     &,     ee
                                                                                                                                     � No answer
                                                                                                                                         12:38 PM                                                  �
                                                                                                                                                           Thursday, April 25, 2024
                                                                                                                                                                                                                               4:57 PM   I
                                                                                                                           Hi Tony, we have a BTC! We had some challenges moving money around and into crypto.com, but it's
                                                                                                                           finally here! Can we get started with you now? Please let me know the details on how to set up our trade
                                                                                                                           account and what you need. Thank you!!!
                                                                                                                                                            Friday, April 26, 2024
                                                                                                Tony, 6:08 AM
                                                                                                                      Q
                                                                                                   Yes for sure
                                                                                                   5et Up traaing account Wltn WWW.UP-Wlntracfe.com
                                                                                                                                                            ©
                                                                                                 �m-e-Pa-ge-ttJpwtn-TTa
                                                                                                 Trad-in-
                                                                                                   Being experts in serving institutional and
                                                                                                    
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 39 of 63 PageID #: 463




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                                                                                                                                                                                                                                                 HAR0282
                                                                                              Tony Hatt...©                                                                                                                       0
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                                    Q      �      co
                                                                                                                              GJ
                                                                                                   Yes for sure
                                                                                                   5et"up·trading·account with www.u
                                                                                                                                                                    ©
                                                                                                   H11m-e---Pa-9=ej�u �wtn-Tr
                                                                                                                                     e.com
                                                                                                              can set UR account today-, you can also get started today-. KeeQ me ROste
                                                                                                                                                                                                  ©
                                                                                                                                                                                                                                       8:33 AM
                                                                                                                                                                                                          Ok I'll work on it now. Thank you!
                                                                                                                                                                                                                                       9:32 AM
                                                                                                                                             So I uploaded my husband's ID. How long does verification take? Then what are the next steps?
                                                                                                Tony, 9:41 AM
                                                                                                   I+ +-"'l"""""r 1   , k"' , ..r
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 40 of 63 PageID #: 464




                                                                                                                                                                                        HAR0283
                                                                                              Tony Hatt...©
                                                                                                 Last seen 2d ago
                                                                                                                                                               Q   �    2o ••
                                                                                                   ..
                                                                                                Tony, 9:41 AM
                                                                                                                               Q
                                                                                                  lt takes 1-2 hours
                                                                                                Tony, 10:14 AM
                                                                                                                           Q
                                                                                                  How's it going ?
                                                                                                                                                       Q
                                                                                                  Refresh webpage to know if account is verified
                                                                                                                                                                            10:14 AM
                                                                                                                                                                              ok
                                                                                                                                                                       its verified!
                                                                                                Tony, 10:16 AM
                                                                                                                                               Q
                                                                                                  Select deposit on options menu
                                                                                                                                                   Q
                                                                                                  You'll find your funding wallet address.
                                                                                                                                                           Q
                                                                                                  Send Btc from crypto.com to your upwin account
                                                                                                                                                                            10:i<l AM
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 41 of 63 PageID #: 465




                                                                                                                                                                                                                                                HAR0284
                                                                                             Tony Hatt...©
                                                                                                Last seen 2d ago
                                                                                                                                                                                                               Q      �      c?o ••
                                                                                                                                                                                                                                 10:19 AM
                                                                                    •
                                                                                                                                                                  Ok so I copy the address and go into crypto.com to transfer out ?
                                                                                               Tony, 10:19 AM
                                                                                                                           ©
                                                                                                 Yes, that's correct
                                                                                                                                                                                                                                 10:20 AM
                                                                                                                                                                                                                                   ok
                                                                                                                                                                                                                                 10:37 AM
                                                                                                                                                   The amount is a little over 1 BTC.. is that okay or do I only transfer exactly 1 BTC?
                                                                                               Tony, 10:40 AM
                                                                                                                  ©
                                                                                                 It's okay
                                                                                                                                                                                                                                 10:54AM
                                                                                                                                                                                                                   Ok.. its on the way
                                                                                                                                                                                                                                 11:14AM
                                                                                                                          All we did was transfer in crypto.com to our external wallet address that we copied from our upwintrade
                                                                                                                                                                                                                                            V
                                                                                                                          account.. Was that right? Did I have to click on the green Deposit button in upwintrade?
                                                                                               
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 42 of 63 PageID #: 466




                                                                                                                                                                                                                                              HAR0285
                                                                                              Tony Hatt...©                                                                                                                0
                                                                                                                                                                                                             Q      IQ))   co
                                                                                                 Last seen 2d ago
                                                                                                                                                                                                                                6:42 PM
                                                                                                                                                                                                 It's there! T ime to win some morel
                                                                                                                                                            Tuesday, May 7, 2024
                                                                                               Tony, 9:46 AM
                                                                                                                      Q
                                                                                                  Let's go�
                                                                                                                      �
                                                                                                                                                           Monday, May 13, 2024
                                                                                               Tony, 12:04 PM
                                                                                                                                                                                                                   Q
                                                                                                  Market doing so well, Do you not think you want increase your investment. It's going to be a massive win
                                                                                                  for you
                                                                                                                                                              Q
                                                                                                  Doubling your invest can make you more than $2M
                                                                                                                                                          Wednesday, May 15, 2024
                                                                                                                                                                                                                                9:59 AM
                                                                                                                           Hi Tony, the market is doing well! We are very happy with the wins! We are adding another ~$10k
                                                                                                                           probably should come thru today or tomorrow, but at this point.. that's probably all we can do. Thanks         V
                                                                                                                           aqain!
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 43 of 63 PageID #: 467




                                                                                                                                                                                                                                                HAR0286
                                                                                             Tony Hatt...©                                                                                                     Q
                                                                                             • Last seen 2d ago
                                                                                                                                                                                                                      �      �o     ••
                                                                                                                                                                  I forget.. is there anything else I have to do in the trading account?
                                                                                                                                                                                   or it will just be added to the investment amount?
                                                                                                                                                                                                                                  1:47 PM
                                                                                                                          Is there anything you have to do for incoming funds? I still don't see it added to the "invested amount"..
                                                                                                                          trying to be patient .:..:.
                                                                                               Tony, 6:03 PM
                                                                                                                                                Q
                                                                                                 It will automatically add in account
                                                                                                                                                                                                                                  6:04 PM
                                                                                                                                                                                                    Does it typically take 6-7 hours+?
                                                                                               Tony, 6:04 PM
                                                                                                                                               Q
                                                                                                 Yes, when the btc network is slow
                                                                                                                                                                                                                                  6:04 PM
                                                                                                                                                                                                                                            V
                                                                                                                                                                                                                                  n:4? PM
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 44 of 63 PageID #: 468




                                                                                                                                                                                                                                                        HAR0287
                                                                                              Tony Hatt...©                                                                                                           Q
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                                                �   �o      ••
                                                                                               Tony, 6:57 PM
                                                                                                  Yes i can
                                                                                                                 ©
                                                                                                                                            Call ended
                                                                                                                                     �
                                                                                                                                                   I
                                                                                                                                            7:09 PM 11m 49s                                               �
                                                                                                                                                                                                                                          7:10 PM
                                                                                                                                                                                                 Thank you so much for talking with us!
                                                                                               Tony, 7:10 PM
                                                                                                  You're welcome
                                                                                                                          ©
                                                                                                                                                              Monday, May 6, 2024
                                                                                                                                                                                                                                         11:26 AM
                                                                                                                           Hi Tony, we just sent another ~ 1 BTC + into our trading wallet address. It hasn't shown up yet, but its on
                                                                                                                          the way! .:..:.
                                                                                                                                                                    I forget.. is there anything else I have to do in the trading account?
                                                                                                                                                                                                                                                    V
                                                                                                   A TvnP ;i mP<::<::::lnP                                                                          A/J       .[.bi       ,0,       QI
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 45 of 63 PageID #: 469




                                                                                                                                                                                                                                        HAR0288
                                                                                              Tony Hatt...®
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                            Q      �     2o ••
                                                                                                Tony, 9:24 AM
                                                                                                                           Q
                                                                                                  You're welcome
                                                                                                                                     � No answer                                                   �
                                                                                                                                         11:38 AM
                                                                                                                                                                                                                            11:40 AM
                                                                                                                                   Hi Tony, could you call back when you have a chance, please? We have a couple questions. thanks!
                                                                                                Tony, 6:18 PM
                                                                                                                                          Q
                                                                                                   Okay, when are you available ?
                                                                                                                                                                                                                              6:45 PM
                                                                                                                                                                 Can you talk now? otherwise anytime tonight in the net few hours
                                                                                                                                     � No answer                                                   �
                                                                                                                                         6:46 PM
                                                                                        C       Tonv. 6:57 PM
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 46 of 63 PageID #: 470




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                                                                                                                                                                                                                                              HAR0289
                                                                                              Tony Hatt...®                                                                                                                 0
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                              Q      �     co
                                                                                                Tony, 9:06 AM
                                                                                                                               ©
                                                                                                  Yes that's correct
                                                                                                  That gives you a good threshold to leverage the market properly
                                                                                                                                                                           ©
                                                                                                                                                                                                                                9:09 AM
                                                                                                                                                     Ok, I'll talk with my husband and see how/ if we can do that, and how quickly
                                                                                                                                                                                                                                9:20 AM
                                                                                                                           Unfortunately we just can't come up with that right now. Can you move forward with trading the amount
                                                                                                                           we already have in our account?
                                                                                                Tony, 9:22 AM
                                                                                                  Yes, sure i can. With the large wins, we just wont have alot of threshold to win so much
                                                                                                                                                                                                ©
                                                                                                  All good, I'll go on your pace
                                                                                                                                        ©
                                                                                                                                                                                                                                9:24 AM
                                                                                                                                                             If the extra becomes available, we will let you know right away. Thanks!
                                                                                                Tony, 9:24 AM
                                                                                                                                                                                                                                          V
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 47 of 63 PageID #: 471




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                                                                                              Tony Hatt...®
                                                                                              � Last seen 2d ago
                                                                                                                                                                                                                  Q      �      c?o ••
                                                                                                                                      '"'   3:36 PM                                                      ...
                                                                                                                                     \:' No answer
                                                                                                                                            10:40 PM                                                    �
                                                                                                                                                               Thursday, May 30, 2024
                                                                                                Tony, 2:02 PM
                                                                                                                                                       Q
                                                                                                   Hello Delaina, I got really busy yesterday
                                                                                                                                                                            Q
                                                                                                   T he reason i was reaching out is concerning your investment
                                                                                                                                                                                                                                    5:30 PM
                                                                                                                                             Hi Tony, we are available now if you are, otherwise later tonight? What time is good for you?
                                                                                                                                                                 Friday, May 31, 2024
                                                                                                Tony, 9:39 AM
                                                                                                                               Q
                                                                                                   I'm available now
                                                                                       a.. Tonv. ::>:10 PM
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 48 of 63 PageID #: 472




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                                                                                               Tony Hatt...©
                                                                                              • Last seen 2d ago
                                                                                                                                                                                    Q   �   2o ••
                                                                                                Tony, 2:10 PM
                                                                                                                         ©
                                                                                                   Are you there?
                                                                                                                                                                                             2:11 PM
                                                                                                                                                                                            Hi yes
                                                                                                                                     � No answer                                �
                                                                                                                                       2:12PM
                                                                                                                                     �   Call ended                             �
                                                                                                                                         2:18PMl5rn11s
                                                                                                                                                         Sunday, June 2, 2024
                                                                                                Tony, 8:58 AM
                                                                                                   Hello Delaina, how's it going ?
                                                                                                                                          ©
                                                                                                                                                                                                       V
                                                                                                                                                         Monday, June 3, 2024
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 49 of 63 PageID #: 473




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                                                                                              Tony Hatt...®
                                                                                              • Last seen 2d ago
                                                                                                                                                                                                                 °' � 80 ••
                                                                                                                                                             Monday, June 3, 2024
                                                                                                                                    � Missed call
                                                                                                                                      Tony I 5:23 PM                                                   �
                                                                                                                                                                                                                                    6:38 PM
                                                                                                                           Hi Tony, sorry I missed you. I was traveling yesterday. I talked with Chad, at this point we are not able to
                                                                                                                          add to our investment. Thanks for checking in. If anything else changes on our side, we will definitely let
                                                                                                                          you know asap. Thanks again!
                                                                                                                                                             Saturday, June 8, 2024
                                                                                               Tony, 11 :33 AM
                                                                                                                                               Q
                                                                                                  Hello Delaina, how are you today?
                                                                                                                                                                                                                        Q
                                                                                                  Just like i told you earlier, btc is over ?Ok now, it's heading to 1 O0k. Are you sure you do not want to take
                                                                                                  investment to $200K. You can write your friend and find out how my strategy works, Her current
                                                                                                  investment is $500k and she's already at $8M in profit. I advise you take advantage of the bull run
                                                                                                                                                                                                                                    4:34 PM
                                                                                                                                                                                                                                              V
                                                                                                                          Ok, we are looking into some things so that we can increase our investment. We will keep you updated..
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 50 of 63 PageID #: 474




                                                                                                                                                                                                                                                HAR0293
                                                                                              Tony Hatt...©                                                                                                 Q      �     �o     ••
                                                                                              • Last seen 2d ago
                                                                                                                           Ok, we are looking into some things so that we can increase our investment. We will keep you updated..
                                                                                                                           thanks!
                                                                                                Tony, 9:55PM
                                                                                                                  Q
                                                                                                   ok
                                                                                                                                                          Wednesday, June 12, 2024
                                                                                                Tony, 10:25 AM
                                                                                                                                                      Q
                                                                                                   How's it going? You're missing out big time
                                                                                                                                                           Sunday, June 16, 2024
                                                                                                                                                                                                                              11:10PM
                                                                                                                           Hi Tony, we deposited another small amount today (6/16). We would deposit more if we had it for sure!
                                                                                                                           We will let you know if we come up with more. Thank you!!!
                                                                                                                                                                                                                                            •
                                                                                                                                                           Monday, June 17, 2024
                                                                                                Tony, 6:55 AM
                                                                                                                                                                                                                  Q
                                                                                                   Small amounts like that wouldn't make so much impact in your account tbh. I'll advise a minimum of
                                                                                                   0.SBTC or 1BTC when funding, so you can make the best of it                                                                          V
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 51 of 63 PageID #: 475




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                                                                                             Tony Hatt...©
                                                                                             -> Last seen 2d ago                                                                                             Q      �     2o ••
                                                                                                                                                                                                                   ©
                                                                                                 Small amounts like that wouldn't make so much impact in your account tbh. I'll advise a minimum of
                                                                                                 O.SBTC or 1 BTC when funding, so you can make the best of it
                                                                                                                                                          Monday, June 24, 2024
                                                                                                                                                                                                                               4:20 PM
                                                                                                                          Hi Tony, we have a friend who may be interested in investing with you. Are you open to new clients? If so,
                                                                                                                          can we give him your Skype ID so that he can contact you directly?
                                                                                                                                                          Tuesday, June 25, 2024
                                                                                               Tony, 3:14 PM
                                                                                                                                                                     ©
                                                                                                 Yeah, the minimum is 1 BTC tho. Is your friend aware of that
                                                                                                                                                                                                                               3:15 PM
                                                                                                                                                                                                                                 Yes
                                                                                                                                                                                                           Thanks. His name is Scott
                                                                                                                                                                                                       We'll give him your Skype ID
                                                                                               Tony, 3:44 PM
                                                                                                                                                                                                                                         V
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 52 of 63 PageID #: 476




                                                                                                                                                                                                                                             HAR0295
                                                                                            Tony Hatt ...      ©                                                                                                 Q      � 2o ••
                                                                                               Last seen 2d ago
                                                                                                                                               OK.. can we rn1K m 4:, minutes, p1easer .. 1 nave a comerence ca11 mat w111 nnisn m 4:, mm
                                                                                              Tony, 11:18 AM
                                                                                                Okay perfect
                                                                                                                     ©
                                                                                                                                                                                                                                  11:18AM
                                                                                                                                                                                                                                 thanks!
                                                                                                                                       No answer
                                                                                                                                   �                                                                   �
                                                                                                                                       12:06 PM
                                                                                                                                   �
                                                                                                                                       Call ended                                                      �
                                                                                                                                       12:36 PM I 12m 41s
                                                                                                                                                                                                                                   1:54 PM
                                                                                                                                                                                                                  hi Tony, are available?
                                                                                                                                   t 71 No answer                                                      •
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 53 of 63 PageID #: 477




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                                                                                              Tony Hatt...©
                                                                                                 Last seen 2d ago
                                                                                                                                                                                                                    a_ �          �o      ••
                                                                                                                                                                    Wednesday
                                                                                                Tony, 7:58 AM
                                                                                                   Hello, when are you available for a call ?
                                                                                                                                                     ©
                                                                                                                                                                                                                                       10:07 AM
                                                                                                                                                                   Hi Tony, I am available now for another hour. Are you available now?
                                                                                                Tony, 10:19AM
                                                                                                   I'm trading right now, how about in hour and half
                                                                                                                                                               ©
                                                                                                                                                                                                                                       10:19 AM
                                                                                                                                                 that should work. I have a few meetings today but can make most other times work.
                                                                                                                                                                                                                                     thanks!
                                                                                                Tony, 11:17 AM
                                                                                                   Okay. I'll be available in 30 mins. Rounding up trades now
                                                                                                                                                                        ©
                                                                                                                                                                                                                                     11:18AM
                                                                                                                                               ok.. can we talk in 45 minutes, please? .. I have a conference call that will finish in 45 min     v
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 54 of 63 PageID #: 478




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                                                                                              Tony Hatt...©
                                                                                                 Last seen 2d ago
                                                                                                                                                                                                             Q      �      c?o ••
                                                                                                                                                                                                            Ok, got it. Thanks again!
                                                                                                                                                           Tuesday, July 30, 2024
                                                                                                                                                                                                                               4:59 PM
                                                                                                                           Hi Tony, I wanted to let you know that we plan on withdrawing on August 10th. Do we transfer your initial
                                                                                                                           10% BTC commission directly out of our Upwin account earnings? And your second 10% BTC
                                                                                                                          commissions payment will come from Chad;s crypto.com account, right?
                                                                                                                                                                  Tuesday
                                                                                                                                    \;" No answer
                                                                                                                                        4:20 PM                                                    �
                                                                                                                                                                                                                               4:21 PM
                                                                                                                                                                   Hi Tony, could you call us when you get a chance please? Thanks!
                                                                                                                                                                Wednesday
                                                                                                Tony, 7:58 AM
                                                                                                                                                                                                                                             I
                                                                                                                                                    Q                                                                                    V
                                                                                                   Hello, when are you available for a call ?
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 55 of 63 PageID #: 479




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                                                                                               Tony Hatt...®
                                                                                                 Last seen 2d ago
                                                                                                                                                                     Sunday, July 21, 2024   -

                                                                                                                                                                                                                        Q      �
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                                                                                                                                                                                                                                              ee
                                                                                                 Tony, 5:09 PM
                                                                                                                                                                                                                              Q
                                                                                                     RelloDelaina, your witncf rawa1-aate is open AugQg7Ufll:-Tllis
                                                                                                                                                                                              er your w1tficf rawal    VIS
                                                                                                                                                  .. ,J .   .   the market everv time there's an oooortunL ., .
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                                                                                                                          . , . si�fy" me ·tax oroc                                 e _erocess afte rwilfidrawal ·1s
                                                                                                                                                                                                                                            7:11 PM
                                                                                                                                                                                       Thanks for the response. What upgrade is taking place?
                                                                                                                                                                     Monday, July 22, 2024
                                                                                                 Tony, 7:44 AM
                                                                                                                                                                                                                              Q
                                                                                                   There's no upgrade taking place, I mean, you upgraded in between your trades. You started with the Gold
                                                                                                   and then upgraded to theDiamond account. That's why the withdrawal is August 10th
                                                                                                                                                                                                                                           12:48 PM
                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                       Ok, got it. Thanks again!      V
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 56 of 63 PageID #: 480




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                                                                                              Tony Hatt...©                                                                                                                    0
                                                                                                                                                                                                                 Q      IQ)J   co
                                                                                             • Last seen 2d ago
                                                                                                                          VVVI" VVlll I yvu IVI I� lCI 111.
                                                                                                                                                              Wednesday, July 17, 2024
                                                                                                                                                                                                                                    2:10 PM
                                                                                                                                                              Hi Tony, would it be easier to talk via Skype call to answer our questions?
                                                                                                                                                               Thursday, July 18, 2024
                                                                                               Tony, 5:42 AM
                                                                                                                                                                          Q
                                                                                                  Sorry Delaina, sending a reply shortly. Was in a conference
                                                                                                                                                                                                                                    8:42 AM
                                                                                                                                                                                                                                              I
                                                                                                                                                                Sunday, July 21, 2024
                                                                                     � Tonv. S:09 PM
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 57 of 63 PageID #: 481




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                                                                                             Tony Hatt...®
                                                                                             • Last seen 2d ago
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                                                                                                                                                                                                                         co
                                                                                                                                                                                                            hi Tony, are available?
                                                                                                                                   � No answer                                                   �
                                                                                                                                     1:55 PM
                                                                                                                                                                                                                              2:03 PM
                                                                                                                                                             Hi Tony, please let me know when you can t alk to Chad and I. Thanks!
                                                                                               Tony, 2:55 PM
                                                                                                 I'm still placing trades, will round up in an hour please
                                                                                                                                                              ©
                                                                                                                                   � No answer                                                   �
                                                                                                                                     2:55 PM
                                                                                                                                                                                                                              2:5:i PM
                                                                                                                                                                                                                         ok thanks
                                                                                    • Tony, 2:55 PM
                                                                                               
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 58 of 63 PageID #: 482




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                                                                                              Tony Hatt...©                                                   Q   �   �o     ••
                                                                                                 Last seen 2d ago
                                                                                                Tony, 2:55 PM
                                                                                                                                               ©
                                                                                                  I'll call you immediately I'm done
                                                                                                                                                                           2:55 PM
                                                                                                                                                                       thanks
                                                                                                                                    � Call started
                                                                                                                                        4:25 PM           �
                                                                                                Tony, 4:46 PM
                                                                                                                                                      ©
                                                                                                  Enter V\\hdrawal Code
                                                                                                                                     Cancel J■ &Mhi
                                                                                                Tony, 4:56 PM
                                                                                                  Burj Khalifa
                                                                                                                     ©                                                               V
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 59 of 63 PageID #: 483




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                                                                                              Tony Hatt...$                                                                                        Q         �    �o   ••
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                                                                                                                                           J■§Mhi
                                                                                                Tony, 4:56 PM
                                                                                                  Burj Khalifa
                                                                                                                     ©
                                                                                                                                        Call ended
                                                                                                                                    �                                                    �
                                                                                                                                        5:05 PM I 39m 41s
                                                                                                                                                                Today
                                                                                                Tony, 3:07 PM
                                                                                                                                                                                                                       •
                                                                                                  Withdrawal window opens tomorrow. Should I continue trading or stop trading?
                                                                                                                                                                                 ©
                                                                                                                                                                                                                            •
                                                                                                   Q Type a message                                                                  �       [ib       '°'       eJl
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                                                                                                                                                                                            Attachment C
Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 60 of 63 PageID #: 484




                                                                                                                                                                                                                                                                                                       HAR0303
                                                                                                                                                                                       Snyder Crypto.com Transaction History
                                                                                           Timestamp (UTC)       Transaction Description   Currency   Amount                 Native Amount (in USD)             Transaction Kind    Transaction Hash
                                                                                                   6/16/24 23:21 Withdraw BTC (BTC)        BTC                    -0.10159                          6718.784257 crypto_withdrawal   de070f941ea31d998b755c9d609071ba6de5a12253d5532fb81a063d9cc99ffb
                                                                                                   5/15/24 18:31 Withdraw BTC (BTC)        BTC                 -0.1897242                           12243.66128 crypto_withdrawal   b69d2cc4b3124654e246b5d3ac18549c53a19d28fa7c5c542977650ecde44913
                                                                                                    5/6/24 15:06 Withdraw BTC (BTC)        BTC                 -1.0048282                           62654.48139 crypto_withdrawal   57812e52fbba85d9103dfe99a562098cfefe30e1d7107871b83e660ede784718
                                                                                                   4/26/24 15:52 Withdraw BTC (BTC)        BTC                 -1.0423585                            65672.0893 crypto_withdrawal   3a7994ca5e471ea1a6f390801e318bf48a58dd32b4d95279872ecb58ea29a468
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 61 of 63 PageID #: 485




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                                                                                  �     ➔       C       �� upwintrade.com/index.php/user
                                                                                                    61 Delaina Doll busine...
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                                                                                                                                                                                                                                                                     »
                                                                                  CJ Imported                                   CJ Dealmaker Protege   CJ Snyder Transpo'tati...   CJ Delaina PMO   CJ Superlicious Stuff   � 21 Day Fix Extreme ...   0                   CJ All Bookmarks
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 62 of 63 PageID #: 486




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                                                                                   UPWINTRADE                                                                                                                                                   IG   Select Language I "'   I :.
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                                                                                                                                                A       L
                                                                                                                                                            Trading volume 24h 43.82B
                                                                                    ••                      Jul      I",         Aug      I',     (0/
                                                                                                                                                            Market capitalization 1.18T                                  Place.Trade
                                                                                  Trade
                                                                                             MY CRYPTO TRADE HISTORY
                                                                                     p
                                                                                   Trade
                                                                                              Trade Type            Trade Time                  symbol Traded                     Amount Traded   Leverage   End Price           End Time                      Trade Status
                                                                                  Overview
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                                                                                  Deposit
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                                                                                  Trade                                                                                                                                                                                �ytO�'.
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Case 1:24-cv-00313-MJT Document 10-3 Filed 09/03/24 Page 63 of 63 PageID #: 487




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